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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )                      4:11CR3087
                                                 )
               V.                                )
                                                 )
GUY E. ALLEN, CHRISTOPHER                        )                        ORDER
MALLETT,                                         )
                                                 )
                       Defendants.               )


       In the presence of Terrell Tyler and his counsel, and pursuant to 18 USC §§ 6002 & 6003
and otherwise,

     IT IS ORDERED that Terrelle Tyler shall give truthful testimony in the trial of United States
v. Guy Allen and Christopher Mallett, 4:11CR3087 presently pending before the court and in further
proceedings ancillary thereto. No testimony or other information compelled pursuant to this order
(or any information directly or indirectly derived from such testimony or other information) may
be used against Mr. Tyler in any criminal case, except a prosecution for perjury, giving a false
statement, or otherwise failing to comply with the order. The undersigned finds and concludes that
the testimony of Terrelle Tyler is necessary to the public interest and approval for this order has
been given by a Deputy Assistant Attorney General of the United States Department of Justice
pursuant to the authority vested in him by the laws of the United States and otherwise.

     Terrelle Tyler is informed that failure to abide by this order, including a refusal to testify, may
subject Terrelle Tyler to prosecution for criminal contempt and upon conviction may subject
Terrelle Tyler to imprisonment (up to and including life in prison), supervised release following
release from prison, a fine and a special assessment. Any such penalty may be imposed to run
consecutive to any other sentence.

     The government’s motion, filing no 218, which has previously been provided to counsel for
Terrelle Tyler, is granted.

     This order was read to Terrelle Tyler and a copy provided to Mr. Tyler and his counsel in open
court on the date and year below shown.

       DATED this 30th day of January, 2013.

                                                BY THE COURT:
                                                Richard G. Kopf
                                                Senior United States District Judge
